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     Fill In this Information to Identify the case:

     United States Bankruptcy Court for the:

     Southern District of Florida

     Case number (If known): _ _ _ _ _ _ _ _ _ _ Chapter 15                                                                                         D Check if this is an
                                                                                                                                                       amended filing



 Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                     1211s

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor's name and case number (if known).



1.    Debtor's name
                                                 KNIJNIK PARTICIPACOES S.A. et al.


2.    Debtor's unique identifier               For non-individual debtors:


                                                      D      Federal Employer Identification Number (EIN)

                                                      li1'   Other   16.865.951/0001-63                . Describe identifier   _C_N_P_J_________

                                               For individual debtors:

                                                      0      Social Security number:    XXX -   XX- _ _ _ _ _ _ __


                                                      D      Individual Taxpayer Identification number (ITIN): 9   xx - xx - ________

                                                      D      Other _ _ _ _ _ _ _ _ _ _ _. Describe identifier _ _ _ _ _ _ _ _ _ _ __



3.    Name of foreign
      representative(s)                         Frederico Antonio Oliveira de Rezende
                                                                                         '
4.    Foreign proceeding in which
      appointment of the foreign                Knijn ik Participas,oes S.A. et al., Case No. 1069936-96.2017.8.26 .0100
      representative(s) occurred

s. Nature of the foreign
                                               Check one:
   proceeding
                                               ~      Foreign main proceeding
                                               D      Foreign nonmain proceeding
                                               D      Foreign main proceeding, or in the alternative foreign nonmain proceeding


s. Evidence of the foreign                     !i2I   A certified copy, translated into English, of the decision commencing the foreign proceeding and
   proceeding                                         appointing the foreign representative is attached.

                                               D      A certificate, translated into English , from the foreign court, affirming the existence of the foreign
                                                      proceeding and of the appointment of the foreign representative, is attached.

                                               D      Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                      representative is described below, and relevant documentation, translated into English, is attached .




7.    Is this the only foreign                 D      No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
      proceeding with respect to                      debtor is pending .)
      the debtor known to the
      foreign representative(s)?
                                               !i2I   Yes




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Debtor        KNIJNIK PARTICIPACOES S.A. et al.                                              Case number c;tkno1Vn), _ _ _ _ _ _ _ _ _ _ _ _ __
              Name


a. Others entitled to notice      Attach a list containing the names and addresses of:

                                  (i)      all persons or bodies authorized to administer foreign proceedings of the debtor,

                                  (ii)     all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                           petition, and

                                  (iii)    all entities against whom provisional relief is being sought under§ 1519 of the Bankruptcy Code.


9. Addresses                     Country where the debtor has the center of its                     Debtor's registered office:
                                 main interests:


                                 Brazil                                                              100 Alfredo Egidio de Souza Aranha Av.
                                                                                                    Number        Street

                                                                                                     04726-170
                                                                                                    P.O. Box

                                                                                                     Sao Paulo                              SP
                                                                                                    City            State/Province/Region    ZIP/Postal Code


                                                                                                     Brazil
                                                                                                    Country




                                 Individual debtor's habitual residence:                            Address of foreign representative(s):


                                                                                                     Pras,a Franklin Delano Roosevelt, 200
                                 Number            Street                                           Number        Street

                                                                                                     Eighth Floor
                                 P.O. Box                                                           P.O. Box

                                                                                                     Sao Paulo                              SP       01303
                                 City                  State/Province/Region   ZIP/Postal Code      City            State/Province/Region    ZIP/Postal Code


                                                                                                     Brazil
                                 Country                                                            Country




10. Debtor's website (URL)




11. Type of debtor               Check one:

                                 i ZI     Non-individual (check one):

                                            li1   Corporation. Attach a corporate ownership statement containing the information
                                                  described in Fed. R. Bankr. P. 7007.1.

                                            0     Partnership

                                            0     Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                 0        Individual




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 Debtor       KNIJNIK PARTICIPACOES S.A. et al.                                              Case number (ifkncmn), _ _ _ _ _ _ _ _ _ _ _ _ __
               Name




 12. Why is venue proper in this   Check one:
     district?                     ill'     Debtor's principal place of business or principal assets in the United Stales are in this district.
                                   0        Debtor does not have a place of business or assets in the United States, but the following
                                            action or proceeding in a federal or state court is pending against the debtor in this district:


                                   D        If neither box is checked, venue is consistent with the interests of justice and the convenience
                                            of the parties. having regard to the relief sought by the foreign representa tive, because :


                                    -- - - --·              -··-·   ~    --· --·--
 13. Signature of foreign
     representative(s)             I request relief in accordance with chapter 15 of title 11, United States Code.

                                   I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                   relief sought in this petition, and I am authorized to file this petition .

                                   I have examined the information in this petition and have a reasonable belief that the
                                   information is true and correct.

                                   I declare under P,8 ally of perjury that the foregoing is true and correct,



                                                               ,~
                                          Signature of for ~presentative
                                                                                                         t:al!buw Ao cb ~~
                                                                                                     Printed n a m e V


                                   Executed on             07:h/::019
                                                           MM / DD       /'yyyy




                                          Signature of foreign representative                        Printed name


                                   Executed on
                                                           MM /DD/ YYYY

-------- - ---- ···---------- - -- -                                                                 ----         ·-· ·-   -   - -    -•-•·---

14. Signature of attorney
                                                                                                     Date        o1 J z.4 J i u1~
                                                                                                                 MM      /DD/YYYY


                                     Cristina Vicens Beard
                                          Printed nan,e
                                     Sequor Law, P.A.
                                       Firm name
                                       1001 Brickell Bay Drive. Floor 9
                                          Number          Street
                                     M.:. :i.: :ca;.;.m:.:. i_ _ _ _ _ _ _ _ _ _ _ _ _ _ _FL"-----'3""'3c,c1c=,3~1~_ _ _ _ _ __
                                       City                                                              State             ZIP Code


                                       (305) 372-8282                                                    cvicens@seguorlaw.com
                                       Contact phone                                                     Email address



                                       111357                                                            FL
                                       Bar number                                                        State




          .
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Supplement to Official Form 401

1.     Debtors' Names:
       a.    Knijnik Participa95es S.A.
       b.    Knijnik Engenharia Ltda.
       c.    Knijnik Sao Paulo Engenharia Integrada Ltda.
       d.    Proplan Servi9os e Projetos Ltda.
       e.    Gabinete Projetos de Engenharia e Arquitetura Ltda.

2.     Debtors' Unique Identifiers

 Debtor                                          Identifier (CNPJ)

 Knijnik Participa95es S.A.                      16.865.951/0001-63

 Knijnik Engenharia Ltda.                        04.248.289/0001-13

 Knijnik Sao Paulo Engenharia Integrada Ltda.    15.411 .524/0001-42

 Proplan Servi9os e Projetos Ltda.               51.205.706/0001-20

 Gabinete Projetos de Engenharia e Arquitetura   19 .605.633/0001-06
 Ltda.
